                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA

                                        )
                                        )                   Chapter 11
In re:                                  )
                                        )
Texoma Peanut Company                   )                   Case No. 14-81334
Clint-Co Peanut Company                 )                   Case No. 14-81335
Clint Williams Company-Western Division )                   Case No. 14-81336
LLC                                     )
                    Debtors.            )                   Jointly Administered
                                        )

                DEBTORS’ APPLICATION TO SHORTEN TIME AND
            FOR EXPEDITED CONSIDERATION OF FIRST DAY MOTIONS

       Texoma Peanut Company, et al., debtors and debtors-in-possession in the above

captioned cases (collectively, the “Debtors” or “TPC”), file this Application to Shorten Time and

for Expedited Consideration of the First Day Motions. In support of this Motion, the Debtors

rely on the Declaration of Alan Ortloff, President of Texoma Peanut Company, et al., in Support

of TPC’s Chapter 11 Petitions and First Day Motions, sworn to on November 6, 2014 (the “First

Day Declaration”).1 Debtors seek to shorten time and request expedited consideration of the

following motions, which Debtors anticipate they may file on the Petition Date (as defined

below) (the “First Day Motions”):

           1. Expedited Motion for Entry of an Order (I) Authorizing the Debtors to File a
              Consolidated Creditor Matrix and (II) Granting Authority to Establish the Master
              Service List Applicable to these Cases;

           2. Application for Order Pursuant to § 327(a) Authorizing the Employment and
              Retention of Crowe and Dunlevy as General Bankruptcy and Litigation Counsel
              for Debtors;

           3. Application to Employ Focus Group as Financial Advisor Pursuant to § 327 of the
              Bankruptcy Code;

1
 Capitalized terms used herein and not otherwise defined have the meaning set forth in the First
Day Declaration.



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            4. Application to Employ Lakeshore Food Advisors as Sale Advisors Pursuant to
               §§ 327 and 328(a) of the Bankruptcy Code;

            5. Application to Employ Dixon Hughes Goodman as Bankruptcy Accountants
               pursuant to § 327 of the Bankruptcy Code;

            6. Application for Order Pursuant to § 327(a) Authorizing the Employment and
               Retention of Gerald R. Miller as Conflicts Counsel for Debtors;

            7. Expedited Motion for Order Under 11 U.S.C. §§ 105, 363, 364, 1107 and 1108
               (I) Authorizing Continued Use of Existing Bank Accounts, Business Forms and
               Cash Management System; (II) Waiving Requirements of § 345 of the
               Bankruptcy Code; and (III) Authorizing Continuation of Intercompany
               Transactions;

            8. Expedited Motion of Debtor To Approve Agreed Interim Order: Pursuant to
               Bankruptcy Code Sections 105, 107(B), 361, 362, 363, 364 and 507 (I)
               Approving Post-petition Financing, (II) Authorizing Use of Cash Collateral, (III)
               Granting Liens and Providing Superpriority Administrative Expense Status, (IV)
               Granting Adequate Protection, (V) Modifying Automatic Stay, and (VI)
               Scheduling a Final Hearing;

            9. Expedited Motion for Order Under 11 U.S.C. §§ 105, 363 and 507, (I)
               Authorizing Payment of Prepetition Employee Obligations and Related Amounts,
               (II) Confirming Right of Debtors to Continue Employee Programs on Post-
               petition Basis, (III) Confirming Right of Debtors to Pay Withholding and Payroll-
               Related Taxes and (IV) Directing Banks to Honor Prepetition Checks for
               Employee Obligations;

            10. Expedited Motion Under 11 U.S.C. §§ 105(A) and 331 to Establish Procedures
                for the Interim Compensation of Professionals;

            11. Expedited Motion for Interim and Final Orders Providing Adequate Assurance of
                Utility Payments;

            12. Expedited Motion for Order Granting Additional Time to File Schedules and
                Statements pursuant to 11 U.S.C. § 521(a)(1) and Fed.R.Bankr.P.1007(b).

       In support, Debtors show the Court as follows:

                                     JURISDICTION & VENUE

       1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A). Venue is proper in this


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district pursuant to 28 U.S.C. § 1409.

               BRIEF STATEMENT OF FACTS AND RELIEF REQUESTED

        2.      On November 6, 2014 (the “Petition Date”), the Debtors filed voluntary petitions

for relief pursuant to Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the Eastern District of Oklahoma (the “Bankruptcy

Court”).

        3.      Debtors continue to operate their businesses as a debtors in possession pursuant to

§§ 1107 and 1108.2      The U. S. Trustee has not yet appointed any official committees in these

cases, and no request has been made for the appointment of a trustee or examiner.

        4.      These cases are jointly administered pursuant to this Court's Order entered

November 6, 2014. A description of the Debtors’ business, the reasons for filing these chapter

11 cases and the relief sought from this Court to allow for a smooth transition into operations

under chapter 11 is set forth in the First Day Declaration, which was filed contemporaneously

with this Motion. The Debtors hereby adopt and incorporate the First Day Declaration as if fully

set forth herein.

        5.      Debtors anticipate filing the First Day Motions on the Petition Date, seeking relief

that is essential to (i) the continued operation of Debtors’ businesses; (ii) the preservation of the

bankruptcy estate; and (iii) the effective and efficient administration of the bankruptcy case.

        6.      The First Day Motions seek expedited relief related to Debtors’ post-petition

financing needs, Debtors' utilities providers, Debtors’ employee benefit programs, and Debtors’

cash management systems. In addition, the First Day Motions seek authority for Debtors to

employ their bankruptcy counsel, conflicts counsel, bankruptcy financial advisors, bankruptcy


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 Unless otherwise stated, statutory references herein are to the United States Bankruptcy Code,
11 U.S.C. §101, et. seq.

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accountants, and bankruptcy sale advisors in these bankruptcy proceedings.

       7.      Notice of the First Day Motions that are filed on the Petition Date will be faxed or

emailed to the Debtors’ 20 largest unsecured creditors on the Petition Date. Such notice shall

also be provided by facsimile or electronically to Wells Fargo Bank, N.A., the Debtors’ largest

secured creditor and to the Office of the United States Trustee for the Eastern District of

Oklahoma.

       8.      Each of the First Day Motions requests relief essential to the continued operation

and success of Debtors, and therefore the First Day Motions should be heard and considered on

an expedited basis. The First Day Motions seek relief typical of a bankruptcy case of similar size

and complexity to that of Debtors.

       9.      The Court’s immediate consideration of the First Day Motions is crucial to

Debtors’ survival and successful reorganization. In the event that the First Day Motions are not

immediately heard, Debtors run the risk of losing time critical to Debtors’ success in these

bankruptcy proceedings.

       10.     In light of the necessity for immediate hearing, Debtors request that pursuant to

FED. R. BANKR. P. 9006(c), the time for response to those First Motions filed on the Petition Date

be shortened and that the First Day Motions be set for hearing on November 10, 2014, at 10:00

a.m. (the “First Day Hearing”).

       11.     Orders granting some of the First Day Motions will require entry of orders only

on an interim basis subject to further notice and a final hearing. Debtors request such final

hearing be heard on November 24, 2014 at 10:00 a.m. (the “Final Hearing”).

       12.     The time between the First Day Hearing and the Final Hearing is exactly 14 days,

thus when the 3 day mailing lag is added in, the notice for the Final Hearing is legally 11 days.



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To the extent FED. R. BANKR. P. 2002 et. seq., require longer notice periods that will be afforded

by setting the Final Hearing on November 24, 2014, the Debtors request this Court to shorten

such periods.

       WHEREFORE, for the reasons set forth above, Debtors request that the Court set those

First Day Motions that are filed on the Petition Date for hearing on November 10, 2014, at 10:00

a.m., set the time for response to such First Day Motions for no later than November 7, 2014, at

12:00 p.m. (C.S.T.), set the Final Hearing on any interim orders entered regarding the First Day

Motions for November 24, 2014, at 10:00 a.m. and for all other relief this Court deems equitable.

                                                      CROWE & DUNLEVY
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                                CERTIFICATE OF SERVICE

       This is to certify that on the 6th day of November, 2014, I electronically transmitted the
above and foregoing instrument for filing and for transmittal of a Notice of Electronic Filing to
all ECF registrants in this case. This further certifies that on the 6th day of November, 2014, a
true and correct copy of the foregoing was sent via first class mail to those parties listed on the
attached notice list and via email or fax to those parties as noted on the attached notice list.



                                                      /s/Mark A. Craige__________________
                                                      Mark A. Craige




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